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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  SECURITIES AND EXCHANGE                     §
  COMMISSION,                                 §
                                              §
        Plaintiff,                            §
                                              §
  v.                                          §       Civil Action No. 3:09-CV-298-N
                                              §
  STANFORD INTERNATIONAL BANK                 §
  LTD., et al.,                               §
                                              §
        Defendants.                           §


                       MEMORANDUM OPINION AND ORDER

        This Order addresses the Securities and Exchange Commission’s (the

  “Commission”) motion to enter final judgments against Stanford Financial Group

  Building, Inc. (“SFGBI”), Stanford Financial Group Company (“SFGC”), Stanford Capital

  Management, LLC (“SCM”), James Davis, Gilberto Lopez, Robert Allen Stanford,

  Stanford International Bank (“SIB”), and Stanford Group Company (“SGC”) [3176]. The

  Court grants the motion and enters final judgment as follows.

                      I. STANFORD FINANCIAL GROUP BUILDING, INC.

        Pursuant to the Motion to Enter Final Judgments and the consent agreement of

  SFGBI [3176-9],1 the Court hereby orders, adjudges, and decrees that SFGBI is liable for

  disgorgement of $4,000,000, representing net profits gained as a result of the conduct


  1
    SFGBI has consented to the entry of this Final Judgment without admitting or denying
  the allegations of the Complaint, waived findings of fact and conclusions of law, and
  waived any right to appeal from this Final Judgment.
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  alleged in the Complaint, along with $2,428,833.27 in prejudgment interest, for a total of

  $6,428,833.27. SFGBI’s obligation to pay $6,428,833.27 shall be deemed satisfied by the

  collection efforts and distributions to investors by the Court-appointed Receiver.

         The Court further orders, adjudges, and decrees that the consent agreement is

  incorporated herein with the same force and effect as if fully set forth herein, and that

  SFGBI shall comply with all of the undertakings and agreements set forth therein. The

  Court shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

  Final Judgment.

                        II. STANFORD FINANCIAL GROUP COMPANY

         Pursuant to the Motion to Enter Final Judgments and the consent agreement of

  SFGC [3176-7],2 the Court hereby orders, adjudges, and decrees that SFGC is liable for

  $1,425,370,886.63, along with $803,723,162.20 in prejudgment interest, for a total amount

  of $2,229,094,048.83. SFGC’s obligation to pay $2,229,094,048.83 shall be deemed

  satisfied by the collection efforts and distribution to investors by the Court-appointed

  Receiver.

         The Court further orders, adjudges, and decrees that the consent agreement is

  incorporated herein with the same force and effect as if fully set forth herein, and that

  SFGBI shall comply with all of the undertakings and agreements set forth therein. The




  2
    SFGC has consented to the entry of this Final Judgment without admitting or denying
  the allegations of the Complaint, waived findings of fact and conclusions of law, and
  waived any right to appeal from this Final Judgment.
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  Court shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

  Final Judgment.

                           III. STANFORD CAPITAL MANAGEMENT

         Pursuant to the Motion to Enter Final Judgments and the consent agreement of SCM

  [3176-1],3 the Court hereby orders, adjudges, and decrees that SCM is permanently

  restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities

  Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

  promulgated thereunder, 17 C.F.R. § 240.10b-5, by using any means or instrumentality of

  interstate commerce, or of the mails, or of any facility of any national securities exchange,

  in connection with the purchase or sale of any security:

         (a) to employ any device, scheme, or artifice to defraud;
         (b) to make any untrue statement of a material fact or to omit to state a
             material fact necessary in order to make the statements made, in the light
             of the circumstances under which they were made, not misleading; or
         (c) to engage in any act, practice, or course of business which operates or
             would operate as a fraud or deceit upon any person.

         The Court orders, adjudges, and decrees that SCM is permanently restrained and

  enjoined from violating Section 17(a) of the Securities Act of 1933 (the “Securities Act”),

  15 U.S.C. § 77q(a), in the offer or sale of any security by the use of any means or

  instruments of transportation or communication in interstate commerce or by use of the

  mails, directly or indirectly:



  3
    SCM has consented to the entry of this Final Judgment without admitting or denying the
  allegations of the Complaint, waived findings of fact and conclusions of law, and waived
  any right to appeal from this Final Judgment.
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         (a) to employ any device, scheme, or artifice to defraud;
         (b) to obtain money or property by means of any untrue statement of a
             material fact or any omission of a material fact necessary in order to make
             the statements made, in light of the circumstances under which they were
             made, not misleading; or
         (c) to engage in any act, practice, or course of business which operates or
             would operate as a fraud or deceit upon the purchaser.

         The Court orders, adjudges, and decrees that SCM is permanently restrained and

  enjoined from violating Sections 206(1) and 206(2) of the Investment Advisers Act of 1940

  (“Advisers Act”), 15 U.S.C. § 80b-6(1) and 80b-6(2), by the use of the mails or any means

  or instrumentality of interstate commerce, directly or indirectly:

         (a) to employ any device, scheme, or artifice to defraud any client or
             prospective client; or
         (b) to engage in any transaction, practice, or course of business which
             operates as a fraud or deceit upon any client or prospective client.

         The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

  Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

  Act, and Advisers Act also bind the following who receive actual notice of this Final

  Judgment by personal service or otherwise: (a) SCM’s officers, agents, servants,

  employees, and attorneys; and (b) other persons in active concert or participation with SCM

  or with anyone described in (a).

         Next, the Court hereby orders, adjudges, and decrees that SCM is liable for

  disgorgement of $15,120,948, representing net profits gained as a result of the conduct

  alleged in the Complaint, along with $8,526,241.35 in prejudgment interest, for a total

  amount of $23,647,189.35. SCM’s obligation to pay $23,647,189.35 shall be deemed



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  satisfied by the collection efforts and distribution to investors by the Court-appointed

  Receiver.

         The Court further orders, adjudges, and decrees that the consent agreement is

  incorporated herein with the same force and effect as if fully set forth herein, and that SCM

  shall comply with all of the undertakings and agreements set forth therein. The Court shall

  retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

  Judgment.

                                      IV. JAMES DAVIS

         Pursuant to the Motion to Enter Final Judgments and the consent agreement of Davis

  [3176-3],4 the Court hereby orders, adjudges, and decrees that Davis is permanently

  restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Exchange

  Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5,

  by using any means or instrumentality of interstate commerce, or of the mails, or of any

  facility of any national securities exchange, in connection with the purchase or sale of any

  security:

         (a) to employ any device, scheme, or artifice to defraud;
         (b) to make any untrue statement of a material fact or to omit to state a
             material fact necessary in order to make the statements made, in the light
             of the circumstances under which they were made, not misleading; or
         (c) to engage in any act, practice, or course of business which operates or
             would operate as a fraud or deceit upon any person.




  4
    Davis has consented to the entry of this Final Judgment, waived findings of fact and
  conclusions of law, and waived any right to appeal from this Final Judgment.
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         The Court orders, adjudges, and decrees that Davis is permanently restrained and

  enjoined from violating Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), in the offer

  or sale of any security by the use of any means or instruments of transportation or

  communication in interstate commerce or by use of the mails, directly or indirectly:

         (a) to employ any device, scheme, or artifice to defraud;
         (b) to obtain money or property by means of any untrue statement of a
             material fact or any omission of a material fact necessary in order to make
             the statements made, in light of the circumstances under which they were
             made, not misleading; or
         (c) to engage in any act, practice, or course of business which operates or
             would operate as a fraud or deceit upon the purchaser.

         The Court orders, adjudges, and decrees that Davis is permanently restrained and

  enjoined from violating Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C. § 80b-

  6(1) and 80b-6(2), by the use of the mails or any means or instrumentality of interstate

  commerce, directly or indirectly:

         (a) to employ any device, scheme, or artifice to defraud any client or
             prospective client; or
         (b) to engage in any transaction, practice, or course of business which
             operates as a fraud or deceit upon any client or prospective client.

         The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

  Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

  Act, and Advisers Act also bind the following who receive actual notice of this Final

  Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

  employees, and attorneys; and (b) other persons in active concert or participation with

  Davis or with anyone described in (a).



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         Next, the Court hereby orders, adjudges, and decrees that Davis is liable for

  disgorgement of $11,782,964.44, representing net profits gained as a result of the conduct

  alleged in the Complaint, along with $1,721,784.62, for a total amount of $13,504,749.06.

  This total shall be offset by $841,288.08 that the Receiver obtained from the seizure and

  liquidation of the Defendant’s assets, making the total disgorgement $12,663,460.98. In

  addition, Davis is liable for the civil penalty of $5 million ordered by the Court in its

  April 25, 2013 Order granting summary judgment [1858]. Defendant shall satisfy this total

  obligation by paying $17,663,460.98 to the Securities and Exchange Commission within

  30 days after entry of this Final Judgment.

         Defendant may transmit payment electronically to the Commission, which will

  provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

  made directly from a bank account via Pay.gov through the SEC website at

  http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

  bank cashier’s check, or United States postal money order payable to the Securities and

  Exchange Commission, which shall be delivered or mailed to

         Enterprise Services Center
         Accounts Receivable Branch
         6500 South MacArthur Boulevard
         Oklahoma City, OK 73169

  and shall be accompanied by a letter identifying the case title, civil action number, and

  name of this Court; “James Davis” as a defendant in this action; and specifying that the

  payment is made pursuant to this Final Judgment.




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         Defendant shall simultaneously transmit photocopies of evidence of payment and

  case identifying information to the Commission’s counsel in this action. By making this

  payment, Defendant relinquishes all legal and equitable right, title, and interest in such

  funds, and no part of the funds shall be returned to the Defendant.

         The Commission may enforce the Court’s judgment for disgorgement and

  prejudgment interest by using all collection procedures authorized by law, including, but

  not limited to, moving for civil contempt at any time after 30 days following the entry of

  this Final Judgment.

         The Commission may enforce the Court’s judgment for penalties by the use of all

  collection procedures authorized by law, including the Federal Debt Collection Procedures

  Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court

  orders issued in this action. Defendant shall pay post-judgment interest on any amounts

  due after 30 days of the entry of this Final Judgment pursuant to 28 U.S.C. § 1961.

         Pursuant to Section 308(a) of the Sarbanes-Oxley Act of 2022, as amended, a Fair

  Fund is created for the penalties, disgorgement, and prejudgment interest described above

  and shall be transferred to the Court-appointed Receiver for distribution to harmed

  investors until such time as the Receiver is discharged. The Court shall retain jurisdiction

  over the administration of any distribution of the Fund, and the Fund may only be disbursed

  by the Receiver pursuant to an Order of the Court.

         Amounts ordered to be paid as civil penalties pursuant to this Judgment shall be

  treated as penalties paid to the government for all purposes, including all tax purposes. To

  preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

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  reduction of any award of compensatory damages in any Related Investor Action based on

  Defendant’s payment of disgorgement in this action, argue that he is entitled to, nor shall

  he further benefit by, offset or reduction of such compensatory damages award by the

  amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty

  Offset”). If the court in any Related Investor Action grants such a Penalty Offset,

  Defendant shall, within 30 days after entry of a final order granting the Penalty Offset,

  notify the Commission’s counsel in this action and pay the amount of the Penalty Offset to

  the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment

  shall not be deemed an additional civil penalty and shall not be deemed to change the

  amount of the civil penalty imposed in this Judgment. For purposes of this paragraph, a

  “Related Investor Action” means a private damages action brought against Defendant by

  or on behalf of one or more investors based on substantially the same facts as alleged in

  the Complaint in this action.

         The Court further orders, adjudges, and decrees that the consent agreement is

  incorporated herein with the same force and effect as if fully set forth herein, and that Davis

  shall comply with all of the undertakings and agreements set forth therein.

         The Court orders, adjudges, and decrees that, for the purposes of exceptions to

  discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the allegations

  in the Complaint are true and admitted by Defendant, and further, any debt for

  disgorgement, prejudgment interest, civil penalty, or other amounts due by Defendant

  under this Final Judgment or any other judgment, order, consent order, decree, or

  settlement agreement entered in connection with this proceeding, is a debt for the violation

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   by Defendant of the federal securities laws or any regulation or order issued under such

   laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

          The Court shall retain jurisdiction of this matter for the purposes of enforcing the

   terms of this Final Judgment.

                                     V. GILBERTO LOPEZ

          Pursuant to the Motion to Enter Final Judgments and the consent agreement of

   Lopez [3176-5],5 the Court hereby orders, adjudges, and decrees that Lopez is permanently

   restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Exchange

   Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5,

   by using any means or instrumentality of interstate commerce, or of the mails, or of any

   facility of any national securities exchange, in connection with the purchase or sale of any

   security:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to make any untrue statement of a material fact or to omit to state a
              material fact necessary in order to make the statements made, in the light
              of the circumstances under which they were made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon any person.

          The Court orders, adjudges, and decrees that Lopez is permanently restrained and

   enjoined from violating Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), in the offer

   or sale of any security by the use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly:


   5
    Lopez has consented to the entry of this Final Judgment, waived findings of fact and
   conclusions of law, and waived any right to appeal from this Final Judgment.
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         (a) to employ any device, scheme, or artifice to defraud;
         (b) to obtain money or property by means of any untrue statement of a
             material fact or any omission of a material fact necessary in order to make
             the statements made, in light of the circumstances under which they were
             made, not misleading; or
         (c) to engage in any act, practice, or course of business which operates or
             would operate as a fraud or deceit upon the purchaser.

         The Court orders, adjudges, and decrees that Lopez is permanently restrained and

   enjoined from violating Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C.§ 80b-

   6(1) and 80b-6(2), by the use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly:

         (a) to employ any device, scheme, or artifice to defraud any client or
             prospective client; or
         (b) to engage in any transaction, practice, or course of business which
             operates as a fraud or deceit upon any client or prospective client.

         The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

   Act, and Advisers Act also bind the following who receive actual notice of this Final

   Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with

   Lopez or with anyone described in (a).

         Next, the Court hereby orders, adjudges, and decrees that Lopez is liable for

   disgorgement of $2,306,811.10, representing net profits gained as a result of the conduct

   alleged in the Second Amended Complaint, along with $1,116,982.95, for a total amount

   of $3,423,794.05. Defendant shall satisfy this total obligation by paying $3,423,794.05 to

   the Securities and Exchange Commission within 30 days after entry of this Final Judgment.
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          Defendant may transmit payment electronically to the Commission, which will

   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

   made directly from a bank account via Pay.gov through the SEC website at

   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

   bank cashier’s check, or United States postal money order payable to the Securities and

   Exchange Commission, which shall be delivered or mailed to

          Enterprise Services Center
          Accounts Receivable Branch
          6500 South MacArthur Boulevard
          Oklahoma City, OK 73169

   and shall be accompanied by a letter identifying the case title, civil action number, and

   name of this Court; “Gilberto Lopez” as a defendant in this action; and specifying that the

   payment is made pursuant to this Final Judgment.

          Defendant shall simultaneously transmit photocopies of evidence of payment and

   case identifying information to the Commission’s counsel in this action. By making this

   payment, Defendant relinquishes all legal and equitable right, title, and interest in such

   funds, and no part of the funds shall be returned to the Defendant.

          The Commission shall forward any funds collected to the Court-appointed Receiver

   for distribution until such time as the Receiver is discharged.

          The Commission may enforce the Court’s judgment for disgorgement and

   prejudgment interest by using all collection procedures authorized by law, including, but

   not limited to, moving for civil contempt at any time after 30 days following the entry of




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   this Final Judgment. Defendant shall pay postjudgment interest on any amounts due after

   30 days of entry of this Final Judgment pursuant to 28 U.S.C. § 1961.

          The Court further orders, adjudges, and decrees that the consent agreement is

   incorporated herein with the same force and effect as if fully set forth herein, and that

   Lopez shall comply with all of the undertakings and agreements set forth therein.

          The Court orders, adjudges, and decrees that, for the purposes of exceptions to

   discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the allegations

   in the Second Amended Complaint are true and admitted by Defendant, and further, any

   debt for disgorgement, prejudgment interest, civil penalty, or other amounts due by

   Defendant under this Final Judgment or any other judgment, order, consent order, decree,

   or settlement agreement entered in connection with this proceeding, is a debt for the

   violation by Defendant of the federal securities laws or any regulation or order issued under

   such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

   § 523(a)(19).

          The Court shall retain jurisdiction of this matter for the purposes of enforcing the

   terms of this Final Judgment.

                            VI. STANFORD INTERNATIONAL BANK

          On February 19, 2013, Plaintiff Securities and Exchange Commission filed a motion

   for partial summary judgment against Defendant Stanford International Bank. [1779].

          On April 25, 2013, the Court granted the Commission’s motion and: (a) imposed all

   requested injunctive relief; (b) found SIB liable, jointly and severally with Defendants

   Robert Allen Stanford and Stanford Group Company, for $5.9 billion in disgorgement and
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   $861,189,969.06 in prejudgment interest, for a total of $6,761,189,969.06. [1858]. The

   findings of fact and conclusions of law in that Order are incorporated herein.

          On July 15, 2022, the Commission moved the Court to enter a final judgment against

   SIB, based on the Court’s April 25, 2013 Order, and to deem SIB’s obligation to pay the

   ordered disgorgement and prejudgment interest will be deemed satisfied upon the Court-

   appointed Receiver’s ultimate collection efforts and distributions to investors.

          The Court hereby orders, adjudges, and decrees that SIB is permanently restrained

   and enjoined from violating, directly or indirectly, Section 10(b) of the Exchange Act, 15

   U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using

   any means or instrumentality of interstate commerce, or of the mails, or of any facility of

   any national securities exchange, in connection with the purchase or sale of any security:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to make any untrue statement of a material fact or to omit to state a
              material fact necessary in order to make the statements made, in the light
              of the circumstances under which they were made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon any person.

          The Court orders, adjudges, and decrees that SIB is permanently restrained and

   enjoined from violating Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), in the offer

   or sale of any security by the use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to obtain money or property by means of any untrue statement of a
              material fact or any omission of a material fact necessary in order to make


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             the statements made, in light of the circumstances under which they were
             made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon the purchaser.

          The Court orders, adjudges, and decrees that SIB is permanently restrained and

   enjoined from violating Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C.§ 80b-

   6(1) and 80b-6(2), by the use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud any client or
              prospective client; or
          (b) to engage in any transaction, practice, or course of business which
              operates as a fraud or deceit upon any client or prospective client.

          The Court orders, adjudges, and decrees that SIB is permanently restrained and

   enjoined from violating Section 7(d) of the Investment Company Act of 1940 (“ICA”), 15

   U.S.C. § 80a-7(d), by making use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly, to offer for sale, sell, or deliver after sale, in connection

   with a public offering, any security issued by SIB, as a company organized or otherwise

   created under the laws of a foreign country, without first obtaining an order from the

   Commission permitting it to register as an investment company under the ICA.

          The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

   Act, Advisers Act, and Investment Company Act also bind the following who receive

   actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s




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   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert

   or participation with SIB or with anyone described in (a).

          The Court orders, adjudges, and decrees that Defendant SIB is liable, jointly and

   severally with Defendants Robert Allen Stanford and Stanford Group Company, for

   disgorgement of $5.9 billion, representing net profits gained as a result of the conduct

   alleged in the Second Amended Complaint, together with prejudgment interest thereon in

   the amount of $861,189,969.06, for a total of $6,761,189,969.06, and that Defendant’s

   obligation to pay this amount will be deemed satisfied upon the Court-appointed Receiver’s

   ultimate collection efforts and distribution to investors.

          The Court shall retain jurisdiction of this matter for the purposes of enforcing the

   terms of this Final Judgment.

                               VII. STANFORD GROUP COMPANY

          On February 19, 2013, Plaintiff Securities and Exchange Commission filed a motion

   for partial summary judgment against Defendant Stanford Group Company. [1779].

          On April 25, 2013, the Court granted the Commission’s motion and: (a) imposed all

   requested injunctive relief; (b) found SGC liable, jointly and severally with Defendants

   Robert Allen Stanford and Stanford International Bank, for $5.9 billion in disgorgement

   and $861,189,969.06 in prejudgment interest, for a total of $6,761,189,969.06. [1858].

   The findings of fact and conclusions of law in that Order are incorporated herein.

          On July 15, 2022, the Commission moved the Court to enter a final judgment against

   SGC, based on the Court’s April 25, 2013 Order, and to deem SGC’s obligation to pay the



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   ordered disgorgement and prejudgment interest will be deemed satisfied upon the Court-

   appointed Receiver’s ultimate collection efforts and distributions to investors.

          The Court hereby orders, adjudges, and decrees that SGC is permanently restrained

   and enjoined from violating, directly or indirectly, Section 10(b) of the Exchange Act, 15

   U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using

   any means or instrumentality of interstate commerce, or of the mails, or of any facility of

   any national securities exchange, in connection with the purchase or sale of any security:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to make any untrue statement of a material fact or to omit to state a
              material fact necessary in order to make the statements made, in the light
              of the circumstances under which they were made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon any person.

          The Court orders, adjudges, and decrees that SGC is permanently restrained and

   enjoined from violating Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), in the offer

   or sale of any security by the use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to obtain money or property by means of any untrue statement of a
              material fact or any omission of a material fact necessary in order to make
              the statements made, in light of the circumstances under which they were
              made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon the purchaser.

          The Court orders, adjudges, and decrees that SGC is permanently restrained and

   enjoined from violating Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C.§ 80b-


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   6(1) and 80b-6(2), by the use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud any client or
              prospective client; or
          (b) to engage in any transaction, practice, or course of business which
              operates as a fraud or deceit upon any client or prospective client.

          The Court orders, adjudges, and decrees that SGC is permanently restrained and

   enjoined from violating Section 7(d) of the Investment Company Act of 1940 (“ICA”), 15

   U.S.C. § 80a-7(d), by making use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly, to offer for sale, sell, or deliver after sale, in connection

   with a public offering, any security issued by SGC, as a company organized or otherwise

   created under the laws of a foreign country, without first obtaining an order from the

   Commission permitting it to register as an investment company under the ICA.

          The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

   Act, Advisers Act, and Investment Company Act also bind the following who receive

   actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert

   or participation with SGC or with anyone described in (a).

          The Court orders, adjudges, and decrees that Defendant SGC is liable, jointly and

   severally with Defendants Robert Allen Stanford and Stanford Group Company, for

   disgorgement of $5.9 billion, representing net profits gained as a result of the conduct

   alleged in the Second Amended Complaint, together with prejudgment interest thereon in

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   the amount of $861,189,969.06, for a total of $6,761,189,969.06, and that Defendant’s

   obligation to pay this amount will be deemed satisfied upon the Court-appointed Receiver’s

   ultimate collection efforts and distribution to investors.

          The Court shall retain jurisdiction of this matter for the purposes of enforcing the

   terms of this Final Judgment.

                                VIII. ROBERT ALLEN STANFORD

          On February 19, 2013, Plaintiff Securities and Exchange Commission filed a motion

   for partial summary judgment against Defendant Robert Allen Stanford. [1779].

          On April 25, 2013, the Court granted the Commission’s motion and: (a) imposed all

   requested injunctive relief; (b) found Stanford liable, jointly and severally with Defendants

   Stanford International Bank and Stanford Group Company, for $5.9 billion in

   disgorgement     and   $861,189,969.06     in   prejudgment    interest,   for   a   total   of

   $6,761,189,969.06; and (c) ordered Stanford to pay a civil penalty of $5.9 billion. [1858].

   The findings of fact and conclusions of law in that Order are incorporated herein.

          On July 15, 2022, the Commission moved the Court to enter a final judgment against

   Stanford, based on the Court’s April 25, 2013 Order, and to deem Stanford’s obligation to

   pay the ordered disgorgement and prejudgment interest satisfied by the entry of the

   forfeiture order in the Judgement [Doc. 878] entered in United States v. Robert Allen

   Stanford, No. 4:09cr342(1) (S.D. Tex. Houston Division), as well as the Order of Forfeiture

   at Sentencing [Doc. 881] in that case.

          The Court hereby orders, adjudges, and decrees that Stanford is permanently

   restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Exchange
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   Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5,

   by using any means or instrumentality of interstate commerce, or of the mails, or of any

   facility of any national securities exchange, in connection with the purchase or sale of any

   security:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to make any untrue statement of a material fact or to omit to state a
              material fact necessary in order to make the statements made, in the light
              of the circumstances under which they were made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon any person.

          The Court orders, adjudges, and decrees that Stanford is permanently restrained and

   enjoined from violating Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), in the offer

   or sale of any security by the use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud;
          (b) to obtain money or property by means of any untrue statement of a
              material fact or any omission of a material fact necessary in order to make
              the statements made, in light of the circumstances under which they were
              made, not misleading; or
          (c) to engage in any act, practice, or course of business which operates or
              would operate as a fraud or deceit upon the purchaser.

          The Court orders, adjudges, and decrees that Stanford is permanently restrained and

   enjoined from violating Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C.§ 80b-

   6(1) and 80b-6(2), by the use of the mails or any means or instrumentality of interstate

   commerce, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud any client or
              prospective client; or

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          (b) to engage in any transaction, practice, or course of business which
              operates as a fraud or deceit upon any client or prospective client.

          The Court further orders, adjudges, and decrees that, as provided in Federal Rule of

   Civil Procedure 65(d)(2), the foregoing paragraphs regarding the Exchange Act, Securities

   Act, and Advisers Act also bind the following who receive actual notice of this Final

   Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with

   Stanford or with anyone described in (a).

          The Court orders, adjudges, and decrees that Defendant Stanford is liable for a civil

   penalty in the amount of $5.9 billion pursuant to Section 20(d) of the Securities Act,

   15 U.S.C. § 77t(d), Section 21(d)(3) of the Exchange Act, 15 U.S.C. §78u(d)(3), and

   Section 209(e) of the Advisers Act, 15 U.S.C. § 80b-9(e). Defendant shall satisfy this

   obligation by paying $5.9 billion to the Securities and Exchange Commission within 30

   days after entry of this Final Judgment.

          Defendant may transmit payment electronically to the Commission, which will

   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

   made directly from a bank account via Pay.gov through the SEC website at

   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

   bank cashier’s check, or United States postal money order payable to the Securities and

   Exchange Commission, which shall be delivered or mailed to

          Enterprise Services Center
          Accounts Receivable Branch
          6500 South MacArthur Boulevard
          Oklahoma City, OK 73169

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   and shall be accompanied by a letter identifying the case title, civil action number, and

   name of this Court; “Robert Allen Stanford” as a defendant in this action; and specifying

   that the payment is made pursuant to this Final Judgment.

          Defendant shall simultaneously transmit photocopies of evidence of payment and

   case identifying information to the Commission’s counsel in this action. By making this

   payment, Defendant relinquishes all legal and equitable right, title, and interest in such

   funds, and no part of the funds shall be returned to the Defendant.

          The Commission may enforce the Court’s judgment for penalties by using all

   collection procedures authorized by law, including the Federal Debt Collection Procedures

   Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court

   orders issued in this action. Defendant shall pay postjudgment interest on any amounts due

   after 30 days of entry of this Final Judgment pursuant to 28 U.S.C. § 1961.

          Pursuant to Section 308(a) of the Sarbanes-Oxley Act of 2002, as amended, a Fair

   Fund is created for the penalties, disgorgement, and prejudgment interest described above

   and shall be transferred to the Court-appointed Receiver for distribution to harmed

   investors until such time as the Receiver is discharged. The Court shall retain jurisdiction

   over the administration of any distribution of the Fund, and the Fund may only be disbursed

   by the Receiver pursuant to an Order of the Court.

          Amounts ordered to be paid as civil penalties pursuant to this Judgment shall be

   treated as penalties paid to the government for all purposes, including all tax purposes. To

   preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

   reduction of any award of compensatory damages in any Related Investor Action based on

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   Defendant’s payment of disgorgement in this action, argue that he is entitled to, nor shall

   he further benefit by, offset or reduction of such compensatory damages award by the

   amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty

   Offset”). If the court in any Related Investor Action grants such a Penalty Offset,

   Defendant shall, within 30 days after entry of a final order granting the Penalty Offset,

   notify the Commission’s counsel in this action and pay the amount of the Penalty Offset to

   the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment

   shall not be deemed an additional civil penalty and shall not be deemed to change the

   amount of the civil penalty imposed in this Judgment. For purposes of this paragraph, a

   “Related Investor Action” means a private damages action brought against Defendant by

   or on behalf of one or more investors based on substantially the same facts as alleged in

   the Second Amended Complaint in this action.

          The Court orders, adjudges, and decrees that, for the purposes of exceptions to

   discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the allegations

   in the Second Amended Complaint are true and admitted by Defendant, and further, any

   debt for disgorgement, prejudgment interest, civil penalty, or other amounts due by

   Defendant under this Final Judgment or any other judgment, order, consent order, decree,

   or settlement agreement entered in connection with this proceeding, is a debt for the

   violation by Defendant of the federal securities laws or any regulation or order issued under

   such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

   § 523(a)(19).



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         The Court shall retain jurisdiction of this matter for the purposes of enforcing the

   terms of this Final Judgment.

                                        CONCLUSION

         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of

   Civil Procedure, the Clerk is ordered to enter Final Judgment against Stanford Financial

   Group Building, Inc., Stanford Financial Group Company, Stanford Capital Management,

   James Davis, Gilberto Lopez, Robert Allen Stanford, Stanford International Bank, and

   Stanford Group Company.




         Signed January 29, 2025.

                                                          ___________________________
                                                                 David C. Godbey
                                                          Chief United States District Judge




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